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                             IN THE I]N]TED STATES DISTRICT COURT
                          FOR TT{E WESTERN DISTRICT OF PENNSYLVANIA


UMTED STATES OFAMERICA                               )
                                                     )
     vs,                                             )      Criminal No. 20-168
                                                     )
GEORGEALLEN,                                         )
                                                     )
           Defendant.                                )




                                       CHANGE OF PLEA

                        Defendant, GEORGE ALLEN, changes his

                        plea and now enters   I   plea of   gulty   as   to Count(s)   _1
                        in open ro*6 +his 22ndday of July, 2021.




                           N*,ry1)'uw
                        Defendant's




                                 for Defendant
